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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 STANLEY BANNER,                                  )   Civil Action No. 21-cv-19399
                                                  )
           Plaintiff,                             )
                                                  )
 v.                                               )         JOINT NOTICE OF REMOVAL
                                                  )
 NUMOTION,                                        )     Removed from New Jersey Superior
 PRIDE MOBILITY PRODUCTS,                         )    Court, Law Division, Gloucester County
 QUANTUM REHAB,                                   )
 JOHN DOE (1-10), and                             )          DOCKET NO.: GLO-L-833-21
 ABC Inc.(s) (1-10),                              )
                                                  )
           Defendants.                            )
                                                  )
                                                  )


                                  JOINT NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants United Seating and Mobility,

LLC d/b/a Numotion (improperly named in the Complaint as Numotion), Pride Mobility Products

Corporation (incorrectly named Pride Mobility Products and Quantum Rehab and hereinafter

referred to as “Pride Mobility”) (collectively “Defendants”) remove to this Court the above-

captioned matter, which is pending in the Superior Court of New Jersey, Law Division, Gloucester

County, under Docket No. GLO-L-833-21. Removal is proper based on diversity jurisdiction as

follows:


I.       Background

         1.       On September 23, 2021, Plaintiff Stanley Banner, a citizen of New Jersey, filed this

action, designated Docket No. GLO-L-833-21, in the Superior Court of New Jersey, Law Division,

Gloucester County. A true and correct copy of the Complaint and Information Sheet in the state

court action is attached as Exhibit A.
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       2.      Plaintiff’s Complaint alleges that he suffered “significant and permanent personal

injuries and disability, pain and suffering, emotional distress, medical bills, miscellaneous costs

and expenses, and other damages” after falling out of his wheelchair on two occasions: July 13,

2019, and August 18, 2019. Plaintiff alleges that Defendants’ negligence and product design,

manufacturing, and warning defects caused these incidents.

       3.      Although improperly served, Defendants received copies of the Summons and

Complaint on September 28, 2021.

       4.      Pursuant to 28 U.S.C. § 1446(a), Defendants attached true and correct copies of “all

process, pleadings, and orders served” upon Defendants in the state court action as Exhibit B.

       5.      Pursuant to 28 U.S.C. § 1446(b), this Notice has been filed within thirty (30) days

of receipt of service of the Summons and Complaint. Because Defendants were served on

September 28, 2021, this Notice is timely.

       6.      The time for Defendants to answer, move, or otherwise plead with respect to the

Complaint has not yet expired.

       7.      Pursuant to 28 U.S.C. § 1446(d), promptly after the filing of this Notice of

Removal, a true and correct copy of same will be filed with the Clerk of the Superior Court of New

Jersey, Law Division, Gloucester County, and served on Plaintiff’s counsel. A copy of the Notice

of Filing of a Notice of Removal to be filed with the Superior Court of New Jersey, Law Division,

Gloucester County is attached as Exhibit C.

       8.      By filing a Notice of Removal in this matter, Defendants do not waive their rights

to object to service of process, sufficiency of process, jurisdiction over the person, or venue, and

the Defendants specifically reserve the right to assert any defenses and/or objections to which it




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may be entitled, including but not limited to the right to move to dismiss this action pursuant to

Rule 12 of the Federal Rules of Civil Procedure.

       9.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1332.

Diversity exists where (1) the suit is between citizens of different states; and (2) the amount in

controversy exceeds $75,000, exclusive of interests and costs. 28 U.S.C. § 1332.

II.    Diversity of Citizenship

       10.     Upon information and belief, at the time this action was filed and at all times since,

Plaintiff was and is a citizen of New Jersey. See introductory paragraph of Plaintiff’s Complaint,

attached as Exhibit A.

       11.     At all relevant times, including the time of filing the Complaint and the time of

removal, Defendant United Seating and Mobility, LLC (“Numotion”) was and is a limited liability

company organized under the laws of the State of Missouri with its principal place of business in

Tennessee. Numotion’s sole member, NMN Holdings III, Corp., was and is a Delaware

corporation with its principal place of business in Tennessee. Therefore, Numotion is a citizen or

Delaware and Tennessee. See 28 U.S.C. § 1332(c)(1); Lincoln Benefit Life Co. v. AEI Life, LLC,

800 F.3d 99, 105 (3d Cir. 2015) (holding that an LLC has the citizenship of each of its members).

       12.     At all relevant times, including the time of filing the Complaint and the time of

removal, Defendant Pride Mobility was and is a Pennsylvania corporation with its principal place

of business in Pennsylvania. Therefore, Pride Mobility is a citizen of Pennsylvania. See 28 U.S.C.

§ 1332(c)(1); Wachovia Bank v. Schmidt, 546 U.S. 303, 318 (2006) (internal citation omitted) (“A

corporation’s citizenship derives, for diversity purposes, from its State of incorporation and

principal place of business. It is not deemed a citizen of every State in which it conducts business

or is otherwise amenable to personal jurisdiction.”).



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           13.   Quantum Rehab is not a corporate entity; it is a division within Pride Mobility

without a corporate existence of its own and at some point in this litigation should be dismissed as

a party.

           14.   The citizenship of defendants sued under fictitious names is disregarded for

purposes of demonstrating complete diversity of the parties for removal. 28 U.S.C. § 1441(b).

           15.   Because Plaintiff is diverse from each Defendant, complete diversity exists in this

action.

III.       Amount in Controversy Requirement

           16.   The amount in controversy in this action exceeds the sum or value of $75,000,

exclusive of interest and costs. On the face of the Complaint, the $75,000 amount in controversy

requirement is satisfied. See 28 U.S.C. § 1332(a). As the Supreme Court clarified, a notice of

removal to federal court under 28 U.S.C. § 1446(a) need only include a plausible allegation that

the amount in controversy exceeds the jurisdictional threshold and need not include actual

evidence establishing that amount. See Dart Cherokee Basin Operating Co., LLC v. Owens, 574

U.S. 81, 89 (2014).

           17.   Here, Plaintiff alleges that he sustained “severe, consequential, significant and

permanent personal injuries and disability, pain and suffering, emotional distress” among other

costs and expenses. Compl. ¶ 7. He also alleges that he is “restricted and/or prevented from

pursuing his usual activities.” Compl. ¶ 8. This Court has readily found that the amount in

controversy requirement is satisfied when a plaintiff alleges serious bodily injuries and/or chronic

or permanent medical conditions. See Raspa v. Home Depot, 533 F. Supp. 2d 514, 522 (D.N.J.

Dec. 21, 2007); Montilus v. Munoz, No. 09-4143 (SRC), 2009 WL 3246609, at *1, *2 (D.N.J. Oct.

6, 2009); Kolokowski v. Crown Equip. Corp., No. 05-4257, 2005 WL 3320777, at *1, *3 (D.N.J.



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Dec. 6, 2005). Accordingly, it is evident from the face of the Complaint that the amount in

controversy exceeds $75,000.

IV.    Conclusion

       18.     Because (1) complete diversity exists, and (2) the amount in controversy exceeds

$75,000, Defendants satisfy the requirements for removal pursuant to 28 U.S.C. § 1332.


       Defendants request that this Court consider this Notice of Removal in accordance with the

law governing the removal of cases to this Court; that this Court will make the appropriate orders

to achieve the removal of this case from the Superior Court of New Jersey, Law Division,

Gloucester County; and that this Court will make such other orders as may be appropriate to effect

the preparation and filing of a true record in this case of all proceedings that may have been served.



                                                              Respectfully submitted,

                                                              /s/ Diane Fleming Averell
                                                              One of the Attorneys for United
                                                              Seating and Mobility, LLC d/b/a
                                                              Numotion


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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served upon counsel of

record by electronic and regular mail at the following address:

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Dated: October 28, 2021




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